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          3    Telephone: (559) 442-4211
          4    Attorney for Defendant DAVID GEORGE SOLKAH
          5

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          7                      IN THE UNITED STATES DISTRICT COURT FOR THE
          8
                                              EASTERN DISTRICT OF CALIFORNIA
          9
               UNITED STATES OF AMERICA,                         )    CASE NO. 1:06 CR 00418 OWW
         10                                                      )
                                 Plaintiff,                      )
         11                                                      )    ASSOCIATION OF COUNSEL
                  v.                                             )
         12                                                      )
                                                                 )
         13    DAVID GEORGE SOLKAH,                              )
                                                                 )
         14                     Defendant.                       )
                                                                 )
         15
                                                                 )
         16

         17            NOTICE IS HEREBY GIVEN that Attorney Roger K. Vehrs will associate Attorney Kirk
               W. McAllister as co-counsel in the above-entitled matter.
         18

         19            Attorney McAllister's address of record is:
         20                                    Kirk W. McAllister SBN: 47324
                                              Certified Criminal Law Specialist
         21                                   California State Bar, Board of Legal Specialization
                                              1012 11th Street, Suite 100
         22                                   Modesto, CA 95354
                                               Telephone: (209) 575-4844
         23                                   Facsimile: (209) 575-0240
         24
               Dated: January 4, 2007
         25
                                                                  /S/ ROGER K. VEHRS____
         26                                                       ROGER K. VEHRS
                                                               Attorney for Defendant
         27                                                         DAVID GEORGE SOLKAH
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          1                                             ORDER
          2          Upon reading the Association of Counsel regarding the defendant David George
          3    Solkah, the Court hereby approves the request of Association of Counsel.
          4          IT IS SO ORDERED:

          5          DATED: __1/5/06________________

          6
                                                                /s/ Oliver W. Wanger
          7                                                    ______________________________
                                                               HONORABLE OLIVER W.WANGER
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